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 5

 6 Attorney for Defendant,
   ANDREW VU
 7

 8                             UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                )   Case No. 2:08-cr-00093 KJM
                                            )
12                Plaintiff,                )   AMENDED STIPULATION RE: BOND
                                            )   MODIFICATION AND ORDER
13          vs.                             )
                                            )
14                                          )
     ANDREW VU,                             )
15                                          )
                  Defendant.                )
16                                          )
17    ///
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      ///
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       Case 2:08-cr-00093-KJM Document 511 Filed 08/09/11 Page 2 of 3


 1         IT IS HEREBY STIPULATED by and between Andrew Vu and the U.S.
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 3
     on vacation to Austin, Texas during the period August 18-22, 2011; and that
 4
     Mr. Vu shall provide Pre-Trial Services with a written itinerary and notice of
 5

 6 where he will be staying.
 7         Pre-trial Services has been notified of this proposed stipulation and

 8 advised, through Supervisor Tonya Jacobsen, that Pre-Trial Services has no

 9
     objection to this proposed stipulation and bond modification.
10
                                          Respectfully submitted,
11
     Dated: August ___, 2011              STANLEY I. GREENBERG,
12
                                          A Law Corporation
13

14                                        By: /s / Stanley Greenberg (as authorized
                                          on August 8, 2011)
15                                            Stanley I. Greenberg, Esq.
16                                            Attorney for Defendant,
                                              ANDREW VU
17
     Dated: August ___, 2011              UNITED STATES OF AMERICA
18

19
                                          By: /s / Michael D. Anderson
20                                            Michael D. Anderson
                                              Assistant U.S. Attorney
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 2                            UNITED STATES DISTRICT COURT
 3                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 4

 5 UNITED STATES OF AMERICA,                 )    Case No. 2:08-cr-00093 KJM
                                             )
 6               Plaintiff,                  )    ORDER
                                             )
 7         vs.                               )
                                             )
 8                                           )
     ANDREW VU,                              )
 9                                           )
                 Defendant.                  )
10                                           )
11         Upon stipulation of the parties, IT IS HEREBY ORDERED:
12
     The bond of Defendant ANDREW VU is hereby modified to allow him to travel to
13
     Austin, Texas during the period August 18-22, 2011. Prior to leaving, Mr. Vu
14
     shall provide Pre-trial Services with an itinerary to include his flights and where
15

16 he will be staying while in Austin, Texas.
17 DATED: August 9, 2011.
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                                                  UNITED STATES DISTRICT JUDGE
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